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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION


 OKLAHOMA FIREFIGHTERS PENSION AND                      Civil Action No. 4:20-cv-00201-P
 RETIREMENT SYSTEM, ET AL.,
                                                        CLASS ACTION
         Plaintiffs/Intervenors,

 v.

 SIX FLAGS ENTERTAINMENT
 CORPORATION, ET AL.,

         Defendants.


                                   JOINT STATUS REPORT

      1. A statement detailing the date on which the Scheduling Conference was held, the
         location of the Scheduling Conference, the names of the attorneys present, a statement
         regarding whether meaningful progress toward settlement was made, and—without
         disclosing settlement figures—a statement regarding the prospect of settlement.

         The face-to-face Scheduling Conference was held on May 23, 2024, in person in the

Courtroom on the Fourth Floor of the Eldon B. Mahon United States Courthouse. For Plaintiffs,

those in attendance were Lead Counsel John Rizio-Hamilton and Katie Sinderson; Liaison Counsel

Lewis LeClair; Chase Rankin, Executive Director of Oklahoma Firefighters Pension and

Retirement System (“Oklahoma Firefighters”), and Marc Edwards, Legal Counsel for Oklahoma

Firefighters; Kevin Cates, Retired Firefighter and Vice Chairman of Key West Police & Fire

Pension Fund (“Key West”), and Stuart Kaufman, Additional Counsel for Key West. For

Defendants, those in attendance were Attorneys Ralph Duggins, Scott Fredricks, and Mark Foster;

Derek Sample, Chief Accounting Officer of Six Flags Entertainment Corporation; James Reid-

Anderson; and Marshall Barber. On May 30, 2024, a further telephonic conversation was held

between counsel to finalize agreement on the contents of this report. The parties discussed the
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prospect of settlement. While no meaningful progress toward settlement was made, as discussed

below in Section 12, the Court ordered the parties to engage in a private mediation to be completed

no later than August 21, 2024. (See ECF No. 128.) The parties have proposed a mediation date

of August 20, 2024, before the Honorable David L. Evans (retired) in Fort Worth, and fully expect

the mediation to take place before the August 21 deadline.

     2. A brief statement of the claims and defenses.

        Plaintiffs: This is a securities fraud class action brought on behalf of all persons who

purchased the publicly traded common stock of Six Flags during the Class Period (the “Class”).

Lead Plaintiff Oklahoma Firefighters (“Lead Plaintiff”) and Intervenor-Named Plaintiff Key West

(together with Lead Plaintiff, “Plaintiffs”) allege that Defendants1 violated Section 10(b) of the

Securities Exchange Act, 15 U.S.C. § 78j(b), by issuing materially false and misleading statements

to investors during the Class Period concerning the funding, progress, timeline for completion, and

accounting for certain Six Flags-branded theme parks in China. Plaintiffs allege that Defendants

knew or recklessly disregarded that construction of the parks had slowed such that Six Flags would

not meet its opening deadlines, and that Six Flags’ development partner in China, Riverside

International Group (“Riverside”), had lost funding and was not meeting its obligations under Six

Flags’ development agreement. When Defendants revealed delays in park openings, Riverside’s

defaults, and finally, that Six Flags had terminated its partnership with Riverside, Six Flags’

common stock dropped precipitously, causing significant investor losses.

        Defendants: Defendants deny Plaintiffs’ allegations. Six Flags had entered into a licensing

agreement with Riverside to build Six Flags-branded theme parks in China. Six Flags accurately


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 Defendants are Six Flags, a Delaware corporation based in Texas; James Reid-Anderson, the Chairman, President,
and CEO of Six Flags from August 2010 through February 2016, then the Executive Chairman of Six Flags through
July 2017, before being reappointed as Executive Chairman, President, and CEO from July 2017 through November
18, 2019; and Marshall Barber, Six Flags’ CFO from February 2016 through February 24, 2020.



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and timely described, among other things, the agreement with Riverside, Riverside’s financial

condition and the risks involved in such projects. Six Flags’ international business was a small

fraction of its overall business and China was only a portion of that business. Among other things,

the Amended Complaint contains numerous mischaracterizations, takes statements out of context,

and relies on so-called former employees who either mischaracterize information or did not have

access to complete information regarding the business. In sum, none of the statements at issue

was materially false or misleading when made nor were there any purported omissions that

rendered any such statements materially false or misleading. Furthermore, to the extent any

statements, including audited financial statements, could be deemed to be false and misleading,

Defendants made such statements in good faith and did not possess the requisite scienter. Finally,

Defendants contend that Plaintiffs will be unable to prove loss causation because the price of Six

Flags stock declined for reasons other than the revelation of an allegedly prior false or misleading

statement.

   3. A proposed time limit to amend pleadings and join parties.

       The Fifth Circuit’s April 18, 2024 Opinion allowed Key West to intervene for the purpose

of serving as an additional plaintiff. Thus, in light of the Fifth Circuit’s ruling and for the sake of

efficiency, Lead Plaintiff will withdraw its Motion to Amend (EF No. 101) on May 31, 2024,

and—pursuant to the Fifth Circuit’s Opinion and Rule 24 of the Federal Rules of Civil Procedure—

Key West shall file Exhibit A to Key West’s Motion to Intervene (ECF No. 109), the Amended

Consolidated Class Action Complaint For Violations Of The Federal Securities Laws (“Amended

Complaint”), by June 7, 2024.

       Consistent with the directions provided by the Court at the May 23, 2024 Status

Conference, Plaintiffs propose to file a Second Amended Consolidated Class Action Complaint

on or before July 26, 2024, to specifically outline the statements that Plaintiffs believe are


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actionable. Defendants do not oppose this request provided that Plaintiffs do not add challenged

statements, new allegations, or new claims that have not been previously asserted by Plaintiffs.

Defendants otherwise reserve all rights and defenses.

   4. A proposed time limit to file various types of motions, including dispositive motions.

       The parties propose December 23, 2025 as the last day to file dispositive motions, including

motions for summary judgment.

       Plaintiffs will file their motion for class certification on or before September 27, 2024.

Defendants will file their class certification opposition brief on or before November 22, 2024. And

Plaintiffs will file their reply brief in support of class certification on or before January 31, 2025.

       The parties do not anticipate filing any other motions at this time but reserve the right to

do so should the need arise.

   5. A proposed time limit for initial designation of experts and responsive designation of
      experts.

                   Item                                              Deadline

 Initial Designation of Expert(s): The                 Friday, June 27, 2025
 party with the burden of proof on the
 issue subject to the expert designation
 shall file a written designation of the
 name and address of each expert
 witness who will testify at trial for that
 party and shall otherwise comply with
 Rule 26(a)(2) of the Federal Rules of
 Civil Procedure.

 Responsive Designation of                             Friday, August 8, 2025
 Expert(s): Each party without the
 burden of proof on the issue subject to
 expert designation shall file a written
 designation of the name and address
 of each expert witness who will testify
 at trial for that party and shall
 otherwise comply with Rule 26(a)(2).




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 Rebuttal Expert(s): Disclosures                      30 days after the Responsive
 under Rule 26(a)(2) intended solely to               Designation
 contradict or rebut evidence on the
 same subject matter identified by
 another party under Rule 26(a)(2)(B).


    6. A proposed time limit for objections to experts (i.e., Daubert and similar motions).

        The parties propose that all Daubert and other pre-trial motions in limine be filed by March

9, 2026. No challenges to experts shall be filed prior to December 23, 2025 without obtaining

leave of Court, unless that challenge is made in connection with experts offered in connection with

Plaintiffs’ motion for class certification.

    7. A proposed plan and schedule for discovery, a statement of the subjects on which
       discovery may be needed, a time limit for completing factual and expert discovery,
       and a statement of whether discovery should be conducted in phases.

        Previously, the parties made some progress on discovery, but substantial fact discovery

remains to be taken. The parties had served Requests for Production and were in the process of

negotiating a search protocol and search terms. Plaintiffs served interrogatories on Defendants,

whose response is pending. In addition, Plaintiffs have served subpoenas on various third parties

and intend to revive discussion with these third parties as discovery resumes. The parties shall

resume discovery upon the filing of this stipulation.

        Plaintiffs expect to take discovery on topics including, but not limited to:

                   Six Flags’ international expansion strategy;

                   Six Flags’ relationship with Riverside, and Riverside’s payments to Six Flags

                    and financial condition;

                   The construction of the China parks, and Six Flags’ involvement in and

                    oversight of it;

                   Six Flags’ accounting for licensing and revenue recognition;



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                  Six Flags’ executive compensation programs, including Project 600; and

                  Six Flags’ public statements and SEC filings.

       Defendants expect to take discovery on topics including, but not limited to:

                  The subjects that Plaintiffs plan to take discovery on;

                  Plaintiffs’ transactions in relevant securities;

                  Plaintiffs’ allegations, including but not limited to, the so-called former

                   employees and communications with them; and

                  Issues relating to Plaintiffs’ anticipated motion for class certification, including

                   communications among Plaintiffs and purported class members, and Plaintiffs’

                   oversight of this litigation.

       The parties agree that there will be an interim deadline for substantial completion of

document discovery. In addition, the parties agree to work together to complete discovery related

to class certification in a manner consistent with the class certification briefing schedule. Given

the inherent complexities of securities actions and the potential need for international discovery,

the parties agree that fact and expert discovery may take longer here than in typical civil cases.

The parties propose the following schedule to complete discovery.

                   Item                                               Deadline

 Substantial Completion of Party                       Thursday, December 12, 2024
 Document Production

 All Discovery Closes                                  Monday, September 15, 2025




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   8. A statement on whether any limitations on discovery need to be imposed, and if so,
      what limitations.

       While neither party agrees to waive their right to request limitations on discovery, and each

party reserves their rights to request relief from limitations on discovery imposed under the Federal

Rules of Civil Procedure, the parties do not at this time anticipate any limitations on discovery

beyond those imposed by the Federal Rules of Civil Procedure.

   9. A statement on how to disclose and conduct discovery on electronically stored
      information (“ESI”) and any statement on disputes regarding disclosure and/or
      discovery of ESI.

       The parties are working diligently toward negotiating and completing a stipulation

regarding the production of discovery, including protocols for the production of ESI.

   10. Any proposals regarding handling and protection of privileged or trial-preparation
       material that should be reflected in a Court Order.

       The parties have exchanged drafts of a stipulation and proposed order for the Court’s

approval regarding the treatment of privileged, sensitive business information, or otherwise

confidential material produced during discovery. The parties will continue to diligently work

toward completing the proposed order for the Court’s approval.

   11. A proposed trial date, the estimated number of days for trial, and whether a jury has
       been demanded.

       The parties believe that this case will be ready for trial to begin in May 2026, and will last

up to three weeks. Plaintiffs have demanded a jury trial.

   12. A proposed mediation deadline.

       The Court ordered the parties to engage in a private mediation before Judge Evans to take

place not later than August 21, 2024. The parties have proposed August 20, 2024 for their

mediation before Judge Evans and fully expect the mediation to occur prior to the August 21

deadline. Within seven days after the mediation, the parties shall jointly prepare and file a written



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report, which shall be signed by counsel for each party, detailing the date on which the mediation

was held, the persons present (including the capacity of any representative), and a statement

informing the Court of the effect of their mediation and whether this case has been settled by

agreement of the parties.

   13. A statement as to when and how disclosures under FED. R. CIV. P. 26(1) were made or
       will be made.

         Lead Plaintiff and Defendants made their initial disclosures on March 20, 2023. Key West

shall make its initial disclosures within fourteen days of the date this Joint Report is filed with the

Court.

   14. A statement as to whether the parties will consent to a trial (jury or bench) before
       United States Magistrate Judges Cureton or Ray.

         The parties decline.

   15. Whether a conference with the Court is desired, and if so, a brief explanation why.

         At this time, the parties do not request a conference with the Court.

   16. Any other proposals on scheduling and discovery that the parties believe will facilitate
       expeditious and orderly preparation for trial, and other orders that the Court should
       enter under FED. R. CIV. P. 16(b), 16(c), and 26(c).

         At this time, the parties do not have any additional proposals on scheduling and discovery.

         For the Court’s convenience, the parties’ proposed schedule is summarized in the table

below.

                   Event                           Parties’ Proposed Schedule
                   Substantial Completion of       December 12, 2024
                   Party Document Production
                   Mediation                       August 21, 2024
                   Class Certification Opening     September 27, 2024
                   Brief
                   Class Certification             November 22, 2024
                   Opposition
                   Class Certification Fully       January 31, 2025
                   Briefed



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                Event                          Parties’ Proposed Schedule
                Initial Expert Designation &   June 27, 2025
                Report
                Responsive Expert              August 8, 2025
                Designation & Report
                Rebuttal Expert Designation    30 days after disclosure
                                               made by other party
                Completion of Discovery        September 15, 2025
                (including experts)
                Dispositive Motions            December 23, 2025
                Expert Objections (Daubert     March 9, 2026
                motions) & other Motions in
                Limine
                Trial Date                     May 2026


DATED: May 30, 2024                                Respectfully submitted,

/s/ Ralph H. Duggins                               /s/ Katherine M. Sinderson
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                            CERTIFICATE OF CONFERENCE

       I hereby certify that on May 23, 2024, Plaintiffs’ Lead Counsel John Rizio-Hamilton and

Katherine Sinderson of Bernstein Litowitz Berger & Grossmann LLP, along with Liaison Counsel

Lewis LeClair of McKool Smith, met and conferred in person with Defendants’ counsel Mark

Foster of Skadden, Arps, Slate, Meagher, and Flom LLP, and Ralph Duggins and Scott Fredricks

of Cantey Hanger, regarding the Joint Status Report.

Dated: May 30, 2024
                                               /s/ Katherine M. Sinderson
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                                               Lead Counsel for Plaintiffs


                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served on counsel of

record through the Court’s ECF Program on this 30th day of May, 2024.


                                               /s/ Katherine M. Sinderson
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